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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


In re:                                                                   Chapter 11

FTX TRADING LTD. et al.,1                                                Case No. 22-11068 (JTD)

                                       Debtors.                          (Jointly Administered)


ALAMEDA RESEARCH LTD. and FTX                                            Adv. Proc. Case No. 23-50444 (JTD)
TRADING LTD.,

                    Plaintiffs,

vs.

PLATFORM LIFE SCIENCES, INC., LUMEN
BIOSCIENCE, INC., GREENLIGHT
BIOSCIENCES HOLDINGS, PBC,
RIBOSCIENCE LLC, GENETIC NETWORKS
LLC, 4J THERAPEUTICS INC., LATONA
BIOSCIENCES GROUP, FTX FOUNDATION,
SAMUEL BANKMAN-FRIED, ROSS
RHEINGANS-YOO, and NICHOLAS
BECKSTEAD,

                    Defendants.

               DECLARATION OF DR. EDWARD J. MILLS IN SUPPORT OF
              MOTION UNDER RULE 12(B)(2) TO DISMISS COMPLAINT FOR
                 LACK OF PERSONAL JURISDICTION ON BEHALF OF
             PLATFORM LIFE SCIENCES, INC., A CANADIAN CORPORATION

          I, Dr. Edward J. Mills, pursuant to 28 U.S.C. § 1746, hereby submit this declaration (the

“Declaration”) under penalty of perjury:




1
      The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification numbers are 3288 and
      4063 respectively. A complete list of the Debtors and the last four digits of their federal tax identification numbers
      may be obtained on the website of the Debtors’ claims and noticing agent at https://cases.ra.kroll.com/FTX. The
      principal place of business of Debtor Emergent Fidelity Technologies Ltd is Unit 3B, Bryson’s Commercial
      Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.


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       1.        I am the Chief Executive Officer of Platform Life Sciences Inc.,2 a Canadian

corporation with its principal place of business in British Columbia, Canada (“PLS Canada”). I

obtained my Masters of Sciences and Masters of Studies from Oxford University and my Ph.D.

from McMaster University, and am a Fellow of the Royal College of Physicians, London and

Edinburgh. I serve as the Principal Investigator of multiple adaptive platform trials. I am a

Professor at McMaster University in the Department of Health Research Methods, Impact, and

Evaluation as well as the University of Rwanda, School of Public Health. I am also a Senior

Scientist at VirX@Stanford, developing new antiviral agents. I have published more than 550 peer

reviewed papers, including in high impact medical journals such as New England Journal of

Medicine, The Lancet, JAMA, and BMJ. I have been the principal investigator of several large-

scale clinical trials and cohort studies, particularly in connection with HIV. I have also authored

several clinical guidelines supporting national and global HIV guidelines. I previously co-founded

MTEK Sciences, which was acquired by Cytel Inc. in 2020, and served as a Founder and Director

of Redwood Outcomes (acquired by Precision Medicine Group, November 2015), the world’s-

leading provider of network meta-analysis. Prior to co-founding Redwood Outcomes, I served as

a Canada Research chair in Global Health and Associate Professor at the University of Ottawa as

well as a Visiting Associate Professor at Stanford University.

       2.        I submit this Declaration in support of the concurrently filed Motion Under Rule

12(b)(2) to Dismiss Complaint for Lack of Personal Jurisdiction on Behalf of Platform Life

Sciences, Inc., a Canadian Corporation (the “Motion”). By the Motion, PLS Canada moves to

dismiss the claims in this adversary proceeding asserted against PLS Canada by Plaintiffs Alameda

Research Ltd., a British Virgin Islands company (“Alameda”) and FTX Trading Ltd., a corporation


2
    Platform Life Sciences, Inc., a Canadian corporation, is now known as Purpose Life Sciences, Inc., a Canadian
    corporation.

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registered in Antigua and Barbuda (“FTX Trading” and, together with Alameda, the “Plaintiffs”),

on the basis that the Court lacks personal jurisdiction over PLS Canada.

       3.        I have personal knowledge of the facts set forth herein. If called as a witness, I

would testify as to those facts.

       4.        PLS Canada is a corporation organized in British Columbia, Canada, on February

1, 2021. A true and correct copy of PLS Canada’s Certificate of Incorporation under the Business

Corporations Act is attached hereto as Exhibit 1. PLS Canada’s corporate headquarters and

principal place of business are in Vancouver, British Columbia, Canada, and have been in Canada

at all times since its incorporation. PLS Canada has never established a principal place of business

in the United States. PLS Canada conducts its business in Canada and generates its revenue in

Canada; it does not conduct business in the United States.

       5.        PLS Canada is a life sciences company that has developed and led some of the

highest profile large-scale clinical trials both during and following the COVID-19 pandemic. In

May 2023, PLS Canada was awarded the Clinical Trial of the Year for its accelerated clinical trial

work and cost-effective approaches to drug evaluations and efficacy. PLS Canada’s primary focus

is the development of an international network of clinical trial sites in Canada, Brazil, Pakistan,

Rwanda and South Africa, for the purpose of advancing life-saving interventions in marginalized

and underserved communities in low and middle income countries, and increasing these countries’

capacity for clinical trials to rapidly increase access for therapeutics, diagnostics and vaccines for

existing diseases and future pandemics.        PLS Canada’s development of a global platform

infrastructure is designed to dramatically increase the speed of clinical trials, with the goal of

transforming the future of research and development of remedies in low and middle income

countries and saving millions of lives.



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       6.        PLS Canada has a wholly-owned Delaware subsidiary, Platform Life Sciences

Inc.,3 a Delaware corporation (“PLS Delaware”). PLS Delaware is a corporation incorporated in

Delaware on March 31, 2022. A true and correct copy of PLS Delaware’s Certificate of

Incorporation is attached hereto as Exhibit 2.

       7.        PLS Delaware was incorporated for the sole and exclusive purpose of processing

payroll, and providing benefits to, the employees of PLS Canada that work remotely from the U.S.

PLS Delaware (utilizing the services of Trinet, a third-party payroll processing company) currently

processes the payroll and benefits for approximately 11 full-time employees working remotely

from the U.S. PLS Delaware maintains a bank account, previously at Silicon Valley Bank and

currently at JP Morgan Chase, which account is utilized solely to pay payroll and benefits to these

remote employees. The bank account maintained by PLS Delaware is funded exclusively by PLS

Canada to provide payroll and benefits to its U.S. remote employees.

       8.        PLS Delaware has no business operations and generates no revenues. Because of

the discrete role and limited services provided by PLS Delaware, it does not have or require office

space, it shares executive management with PLS Canada and it does not have a separate board of

directors.

       9.        In January 2022, PLS Canada was introduced to FTX leadership via a third party

from Ireland who introduced me to Samuel Bankman-Fried in light of Mr. Bankman-Fried’s

apparent interest in supporting clinical trials in connection with the pandemic response. All

communications by me or other PLS Canada representatives to FTX-related individuals or entities

were made on behalf of PLS Canada.




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    Platform Life Sciences, Inc., a Delaware corporation, is now known as Purpose Life Sciences, Inc., a Delaware
    corporation.

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       10.       Following negotiations, on February 4, 2022, PLS Canada received the amount of

$3.25 million, which was wired into its bank in Canada, the Canadian Imperial Bank of Commerce

(“CIBC”). A true and correct copy (redacted) of the CIBC bank statement reflecting this incoming

wire transfer is attached hereto as Exhibit 3. As reflected on the CIBC statement of the incoming

wire, attached hereto as Exhibit 4, the funds from Plaintiff FTX Trading were from a non-U.S.

bank account, located in Saint Johns, Antigua and Barbuda. PLS Delaware had no involvement

in the negotiations, agreement or receipt of the $3.25 million.

       11.       Following a 3-day event and investment presentation hosted for PLS Canada in the

Bahamas in March 2022, further negotiations ensued. All communications by me or other PLS

Canada representatives to FTX-related individuals or entities regarding these negotiations were

made on behalf of PLS Canada.

       12.       On May 2, 2022, PLS Canada and Latona Biosciences Group, a limited liability

company organized under the laws of the Bahamas (“Latona”), entered into a Simple Agreement

for Future Equity (“SAFE”). A true and correct copy of the SAFE is attached hereto as Exhibit 5.

All communications by me or other PLS Canada representatives to FTX-related individuals or

entities related to the SAFE were made on behalf of PLS Canada.

       13.       On May 26, 2022, pursuant to the terms of the SAFE, PLS Canada received the

amount of $35 million, which was wired into its bank in Canada, CIBC. A true and correct copy

(redacted) of the CIBC bank statement reflecting this incoming wire transfer is attached hereto as

Exhibit 6. As reflected on the CIBC statement of the incoming wire, attached hereto as Exhibit 7,

the funds from Plaintiff Alameda were from a non-U.S. bank account, located in Wickham Cay I,

Road Town Tortola. PLS Delaware had no involvement in the negotiations, agreement or receipt

of the $35 million.



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       14.       On June 6, 2022, PLS Canada and Latona entered into a Services Agreement. A

true and correct copy of the Services Agreement is attached hereto as Exhibit 8.             All

communications by me or other PLS Canada representatives to FTX-related individuals or entities

related to the Services Agreement were made on behalf of PLS Canada.

       15.       On June 21, 2022, pursuant to the terms of the Services Agreement, PLS Canada

received the amount of $15 million, which was wired into its bank in Canada, CIBC. A true and

correct copy (redacted) of the CIBC bank statement reflecting this incoming wire transfer is

attached hereto as Exhibit 9. As reflected on the CIBC statement of the incoming wire, attached

hereto as Exhibit 10, the funds from Plaintiff Alameda were from a non-U.S. bank account, located

in Wickham Cay I, Roan Town Tortola (British Virgin Islands).               PLS Delaware had no

involvement in the negotiations, agreement or receipt of the $15 million.

        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that, to the best of my

knowledge, information and belief, the foregoing is true and correct.

Dated: September 15, 2023
Vancouver, British Columbia, Canada

                                                            /s/ Dr. Edward J. Mills________
                                                            Dr. Edward J. Mills, Ph.D., FRCP
                                                            Chief Executive Officer, Platform
                                                            Life Sciences, Inc., a Canadian
                                                            corporation, now known as Purpose
                                                            Life Sciences, Inc., a Canadian
                                                            corporation




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